Case 2:18-bk-19004-VZ Doc 224 Filed 06/08/22. Entered 06/08/22 15:52:50 Desc
) Main Document Page 1 of 4

a

” : " . FOR COURT USE ONLY
. Recording requested by a return to: .

| RHM LAW LLP
17609 Ventura Blvd., Suite 314
Encino, CA 91316

‘Telephone: (818) 285-0100 Facsimile: (818) 855-7013.

UNITED STATES BANKRUPTCY COURT
' CENTRAL DISTRICT OF CALIFORNIA

inte: - «| CASENUMBER  2:18-bk-19004-VZ x.
-|JUNG UK BYUN. Debtor. | ADVERSARY NUMBER )
Plaintiff ,
i - ABSTRACT OF
Defendant a
The Judgment Creditor applies for an abstract of judgment and represents:
1. The Judgment Debtor’s:. .
a. Name and address Jung Uk Byun
8201 Santa Fe Ave.
Huntington Park, CA 90255
[| Address Unknown
_. b. Driver’s'License No. Unknown

c.- Social Security No. XXX-XX~| 067

2. The Summons was personally served at, or mail to (address):

Jung Uk Byun, 8201 Santa Fe Ave., Huntington Park, CA 90255

3. [-] Information regarding additional judgment debtors is shown on reverse side.

Dated: "

dgmenf Creditor or Attorney)

(Continued on Reverse Side) |

Revised February 2010

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Abstract of Judgment - Page Two

Desc

In re _ (SHORT TITLE) . _ ©. | CHAPTER 11

Jung Uk Byun, . " Debtor(s). | ADVERSARY NO.:

4, 1 certify that in the above-entitled action and Court, Judgment was entered on Decembe r 16, 2019

Resnik Hayes Moradi LLP Jung Uk Byun

in favor of and against
. for $. 0. Principal,
$ 0 Interest,
$ 76, 022. 90 Attorney's Fees, and
$ 0. Costs.

A lien‘in favor of a judgment creditor is:
. [| not endorsed on. the judgment.

endorsed on the judgment as follows:
4... Amount $ 76, 022. 50

Resnik Hayes Moradi LLP (see attached order - Docket #221)

2. Infavor of (name).

A stay of execution has:

not been ordered by the Court.

beén orde y the Court effective until (date):

Attested thi day of - ne Aone 7 ‘Lote

KATHLEEN J. 4: CAMPBELL

Clerk of the Lien

pe Clerk

information regarding additional judgment debtors:

N/A

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M. Jonathan Hayes (Bar No. 90388)
Matthew D. Resnik (Bar No. 182562)

RESNIK HALES MORAMETLE. Oo
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a OE Nia com CLERK U.S. BANKRUPTCY COURT
roksana@RHMFirm.com - BY carranza DEPUTY CLERK
Attorneys for Debtor
- Jong UeByn
UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA
LOS ANGELES DIVISION.
In re ‘Case No. 2:18-bk-19004-VZ,
Chapter 11 .
JONG UK BYUN,
ORDER GRANTING SECOND AND
FINAL APPLICATION BY RESNIK
Debtor.) HAYES MORADI LLP, GENERAL
BANKRUPTCY COUNSEL FOR THE
DEBTOR, FOR ALLOWANCE OF
FEES AND REIMBURSEMENT OF
/ COSTS FOR THE PERIOD JANUARY
22, 2019 THROUGH OCTOBER 14,
2019 AND, ON A FINAL BASIS, FOR
ITS PREVIOUSLY ALLOWED FEES
. AND COSTS FOR THE PERIOD -
- AUGUST 3, 2018 THROUGH
JANUARY 21, 2019,
Date: December 5, 2019
Time: 11:00 a.m.
Place: Courtroom 1368
255 E. Temple Street d°
Los Angeles, CA 90012
A hearing took place at the above time and location to consider the SECOND AND

FINAL APPLICATION BY RESNIK HAYES MORADI LLP, GENERAL

BANKRUPTCY COUNSEL FOR THE DEBTOR, FOR ALLOWANCE OF FEES

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AND REIMBURSEMENT OF COSTS FOR THE PERIOD JANUARY 22, 2019.
THROUGH OCTOBER 14, 2019 AND, ON A FINAL BASIS, FOR ITS
PREVIOUSLY ALLOWED FEES AND COSTS FOR THE PERIOD AUGUST 3,
2018 THROUGH JANUARY 21, 2019 (Docket.No. 218) [the “Application”]. .
Appearances were waived by the Court, ,

After consideration of the Application, there being no obj ections and good cause

‘

appearing,
IT IS HEREBY ORDERED:
1. The Application is approved as follows: fees for services rendered by the

| Firm of $72,885.80 for the period January 22, 2019 through October 14, 2019, and,

2. Fees previously allowed on an interim basis of $77,996.50 are allowed-on a
final basis for the period August 3, 2018 through January 21, 2019, and, 5
3. . Costs are allowed in the amount of $207.30.
4, Payment of the allowed fees and costs is authorized less the retainer and

postpetition payments received totaling $76,022.50.

Hitt

Date: December 16, 2019

Vincent P. Zurzolo
United States Bankruptcy Judge

